                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   2:98-CR-006
                                                )
DAVID S. HILL                                   )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s motion for sentence

reduction [doc. 483]. Through counsel, the defendant seeks a lowered sentence pursuant

to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments 782 and 788 to the United

States Sentencing Guidelines Manual (“U.S.S.G.”). The prosecution has responded [doc.

486], deferring to the court’s discretion whether and to what extent to grant any such

reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).      One such exception is identified in 18 U.S.C. §

3582(c)(2):

      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.



Case 2:98-cr-00006-RLJ      Document 489 Filed 07/08/15          Page 1 of 5    PageID #:
                                        359
If the court finds a defendant eligible for sentence reduction, “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1) (2014).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.           See id.,

amend. 788.

       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S. Sentencing Guidelines Manual §

1B1.10(b)(1) (2014). The court “shall not” reduce a defendant’s term of imprisonment

to a term “less than the minimum of the amended guideline range,” nor to a term “less

                                            2


Case 2:98-cr-00006-RLJ      Document 489 Filed 07/08/15          Page 2 of 5    PageID #:
                                        360
than the term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A),

(C). 1 In addition, the commentary to guideline 1B1.10 provides that a court must also

consider the § 3553(a) sentencing factors and the danger to the public created by any

reduction in a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a

defendant’s post-sentencing conduct. See id.

II.    Factual Background

       Following a jury trial, the defendant was sentenced on March 8, 1999, by the

Honorable Thomas G. Hull to 360 months in prison for two counts related to a conspiracy

to distribute crack cocaine. This sentence was based on a guideline range of 360 months

to life. Under the 1998 version of the sentencing guidelines, the defendant’s base offense

level was 38, corresponding to a drug quantity of 1.5 kilograms or more of crack cocaine.

The defendant’s total offense level was 42 due to a four-level leadership role adjustment,

and his criminal history category was II.

       In March 2008, the defendant filed a pro se motion for sentence reduction pursuant

to section 3582(c) and guideline amendment 706 [doc. 413]. Under that retroactive

amendment, the base offense level for at least 1.5 but less than 4.5 kilograms of crack

cocaine was reduced from 38 to 36. The court granted the motion [doc. 448]. With

continued application of the leadership adjustment, the defendant’s total offense level


       1
          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). The government did not file a substantial
assistance motion as to this defendant.
                                               3


Case 2:98-cr-00006-RLJ        Document 489 Filed 07/08/15           Page 3 of 5     PageID #:
                                          361
dropped from 42 to 40 and his advisory guideline range became to 324 to 405 months.

The court reduced the defendant’s sentence to 324 months.

        In December 2012, the defendant filed a second motion for sentence reduction

pursuant to section 3582(c) and guidelines Amendment 750 [doc. 463].             The court

granted that motion, finding the defendant responsible for at least 840 grams but less than

2.8 kilograms of crack cocaine [doc. 469]. Applying Amendment 750, the defendant’s

total offense level dropped from 40 to 38 and his advisory guideline range became to 262

to 327 months. The court reduced the defendant’s sentence to 262 months. According to

the Bureau of Prisons, the defendant is presently scheduled for release on December 8,

2016.

        Applying Amendment 782, the defendant’s new guideline range is 210 to 262

months, based on a total offense level of 36 and a criminal history category of II. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission.

        The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii), (iii). Having done so, the court finds that the defendant should be granted

a sentence reduction.




                                             4


Case 2:98-cr-00006-RLJ       Document 489 Filed 07/08/15          Page 4 of 5    PageID #:
                                         362
IV.   Conclusion

      For the reasons stated herein, the defendant’s motion [doc. 483] is GRANTED.

The defendant’s term of imprisonment is reduced to 210 months. If this sentence is less

than the amount of time the defendant has already served, the sentence shall instead be

reduced to “time served.” See id. § 1B1.10(b)(2)(C).

      Except as provided above, all provisions of the judgment entered March 23, 1999,

shall remain in effect. The effective date of this order is November 2, 2015. See id. §

1B1.10(e)(1).

                IT IS SO ORDERED.

                                                       ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




                                           5


Case 2:98-cr-00006-RLJ      Document 489 Filed 07/08/15         Page 5 of 5   PageID #:
                                        363
